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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                          CRIMINAL ACTION

VERSUS                                            NO: 05-186

KERRY DE CAY                                      SECTION: "J” (1)
STANFORD BARRE
REGINALD WALKER
JULIUS LIPS, JR.



                           ORDER AND REASONS

     Before the Court is the Motion of Defendant, Reginald

Walker, for Pre-trial Determination of Objections to Co-

Conspirators’ Hearsay Statements (Rec. Doc. 71) and the Motion on

Behalf of Stanford Barre for Pre-trial Determination of

Admissibility of Co-Conspirator Testimony, Pursuant to Rule

801(d)(2)(E) (Rec. Doc. 75).      These motions were opposed by the

Government (Rec. Doc. 107).      This Court heard oral argument on

these motions on April 26, 2006.      For the reasons that follow,

the Court finds that these motions should be DENIED.

THE PARTIES' ARGUMENTS

     Defendants Walker and Barre essentially both argue that it

would be proper and practical to make a pre-trial determination

of admissibility of co-conspirator statements.          Defendant Walker

asserts that the Government must establish a conspiracy before

admitting these statements into evidence, as established in
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United States v. James, 576 F.2d 1121 (5th Cir. 1978).            Both

defendants admit that the timing of this determination is within

the Court's discretion - as long as it is before the statements

are admitted into evidence.      They argue that based on the

complexity of this case, an extensive contradictory hearing

during the trial on this issue would not be practical and would

not be in the interest of judicial economy.         Thus, Defendants

request that these determinations be made pre-trial.

     The Government, on the other hand, argues that requiring the

Court to hold a pre-trial hearing on the admissibility of

co-conspirator statements would essentially be requiring a

"minitrial before the trial."       The Government argues that this

was formerly referred to as a "James hearing" but is now an

"outdated and unwarranted" procedure based on Bourjaily v. United

States, 483 U.S. 171, 181 (1987), which held that co-conspirator

statements themselves could be considered by the Court in

determining admissibility.      The Bourjaily court concluded that a

separate hearing on the admissibility of these statements is not

necessary.   It reasoned that courts could admit these statements,

subject to them being "connected up" later in the trial.              The

Government claims that requiring a pre-trial determination on the

admissibility of these statements would allow Defendants to

circumvent Rule 16 of the Federal Rules Of Criminal Procedure and

the rule that co-conspirator statements are only discoverable to

the extent required by the Jencks Act, 18 U.S.C. § 3500.             In
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essence, the Government argues that this request is "merely a

ruse to gain access to discovery defendants are not entitled to

receive."

DISCUSSION

     Rule 801 of the Federal Rules of Evidence states that a

co-conspirator's statement made during the course of and in

furtherance of the conspiracy is not hearsay.          For a

co-conspirator's statement to be admissible, the Government must

prove by a preponderance of the evidence, that there was a

conspiracy involving the declarant and the non-offering party,

and that the statement to be admitted was made during the course

and in furtherance of that conspiracy.        Bourjaily, 483 U.S. at

175. This determination is a preliminary fact question and is

governed by Rule 104(a) of the Federal Rules of Evidence. In

making this determination, the Court may consider the offered

statements themselves.     Bourjaily, 483 U.S. at 171.          Notably,

there is no requirement that the Court conduct a separate

pre-trial hearing on the admissibility of such statements.              Id.

     In a recent Eastern District opinion, Judge Duval refused a

defendant's request to hold a pre-trial hearing to determine the

admissibility of co-conspirator statements and, instead, chose to

follow what he called the Court's "usual practice" of making such

determination during trial at a brief bench conference.             United

States v. Haydel, 2006 WL 851173 (E.D. La March 13, 2006).

     This Court reaches the same conclusion here as Judge Duval
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reached in the Haydel case.      At this time, a pre-trial

determination of the admissibility of co-conspirator statements

is not necessary. The Court will allow statements to be offered

at trial and will conduct a brief bench conference wherein the

Court will base its admissibility decisions on whether the

Government has met its burden of proof regarding the requisite

predicates for conspiracy. The statements in question will be

admitted as evidence for the jury's consideration if and only if

the Court finds these predicates have been met.          This practice

should not be overly time-consuming, as defense counsel suggest,

because “[o]nce the court makes a definitive ruling on the record

admitting or excluding evidence, either at or before trial, a

party need not renew an objection or offer of proof to preserve a

claim of error for appeal.”      Fed. R. Evid. 103(2).         Accordingly,

     IT IS ORDERED that the Motion of Defendant, Reginald Walker,

for Pre-trial Determination of Objections to Co-Conspirators’

Hearsay Statements (Rec. Doc. 71) and the Motion on Behalf of

Stanford Barre for Pre-trial Determination of Admissibility of

Co-Conspirator Testimony, Pursuant to Rule 801(d)(2)(E) (Rec.

Doc. 75) should be and hereby are DENIED.

     New Orleans, Louisiana this 28th day of April, 2006.



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                                       CARL J. BARBIER
                                       UNITED STATES DISTRICT JUDGE
